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                U.S. District Court for the Northern District Of Illinois
                              Attorney Appearance Form


 Case Title: Melock v. City of                         Case Number: 1:24-cv-12679
             Waukegan, et al

An appearance is hereby filed by the undersigned as attorney for:
Defendants City of Waukegan, Tessman, Meadie, Yarc, Taylor, Winston, Runyard, Davis, Stevenson,
Attorney name (type or print): Ahmed A. Kosoko

Firm: Hervas, Condon & Bersani, P.C. (Of-Counsel)

Street address: 333 Pierce Road, Suite 195

City/State/Zip: Itasca, IL 60143-3156

 Bar ID Number: 6283290                                Telephone Number: (630) 773-4774
 (See item 3 in instructions)

Email Address: akosoko@hcbattorneys.com

Are you acting as lead counsel in this case?                                     Yes       ✔ No
Are you a member of the court’s general bar?                                 ✔ Yes             No

Are you a member of the court’s trial bar?                                   ✔ Yes             No

Are you appearing pro hac vice?                                                  Yes       ✔ No
If this case reaches trial, will you act as the trial attorney?              ✔ Yes             No

If this is a criminal case, check your status.

                                                          ✔       Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on June 17, 2025

Attorney signature:        S/ Ahmed A. Kosoko
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                       Revised 07/19/2023
